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The following excerpt is from a letter obtained during the execution of a search

warrant by federal agents at the Al-Haramain (Riyadh) Ashland, Oregon prayer
house in February 2004.

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Case 6

The following photos were obtained from a computer that was seized pursuant to
the execution of a search warrant by federal agents at the Al

Oregon prayer house in February 2004

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